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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
             v.                             :      Case No. 21-cr-090 (PLF)
                                            :
NATHANIEL DEGRAVE,                          :
         Defendant.                         :

                                     NOTICE OF FILING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Detailee-Trial Attorney Jessica Arco hereby supplements the docket

with the following information related to the proceedings on the Defendant’s oral motion for

modification of pretrial detention and immediate release, in response to the Court’s Minute Order

dated May 17, 2021:

       1. On March 24, 2021, in advance of a hearing on the defendant’s bond motion, the

           government uploaded to USAfx, a document sharing platform, three videos depicting

           events described in the government’s opposition. These videos bore the following file

           names: Helmet grab assault (rioter footage).mp4; Video of trio near Capitol

           entrance.mp4; and Assault in Senate Gallery hallway.mp4.

       2. On March 25, 2021, the Court held a hearing on the defendant’s bond motion, which it

           ultimately continued to April 2, 2021 and, later, to April 26, 2021. See Dkt. No. 23.

       3. Also on March 25, 2021, the government filed a motion to seal three proposed

           surveillance video exhibits, which the Court granted that same day. See Dkt. Nos. 17,

           18.    On March 30, 2021, the government uploaded to USAfx the three sealed

           surveillance video exhibits for the Court to review. For identification purposes, these

           videos bore the prefixes 0303, 0686, and 7029, respectively.

       4. On April 1, 2021, the government emailed the Court a link to a YouTube video

           depicting a different angle of a mob—in which the defendant participated—assaulting

           officers near the Rotunda door of the U.S. Capitol. In response to an objection to the
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          link raised by defense counsel, the Court ordered the government to make the YouTube

          video as well as a video referred to in the government’s briefing as the “TGI Friday’s”

          video “available to the Court as soon as practicable in the same format in which it has

          submitted other videos in this case.” See Mem. Op. & Order dated Apr. 14, 2021 (Dkt.

          No. 28, at 2). On April 15, 2021, the government uploaded to USAfx the two videos

          requested by the Court: Restaurant video.mp4 and The US Capitol Breach As It

          Happened-MVullQb-Lec.mp4.

       5. Subsequently, in light of the Court’s invitation in its April 14, 2021, Order (Dkt. No.

          28) to submit “any additional videos it believes the Court should consider,” the

          government uploaded to USAfx on April 23, 2021, three videos bearing the following

          file names:    FAGW5534.MP4; Movies & TV 2021-04-23 10-26-46.mp4; and

          GP020391.MP4.

       6. On April 26, 2021, the Court held another hearing on the defendant’s bond motion and

          took the motion under advisement.



                                                  Respectfully submitted,

                                           CHANNING D. PHILLIPS
                                           Acting United States Attorney
                                           D.C. Bar No. 415793

                                   By:     /s/____________________________
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Dated: May 17, 2021
